           Case 3:13-cr-00168-GPC                       Document 74                Filed 05/29/13              PageID.184              Page 1 of 2


    O\M.O 245B (CASD) (Rev. 1/12)   Judgment in a Criminal Case
               Sheet I




                                              UNITED STATES DIS1RICT COURT                                             ~ on
                                                                                                                       ~M"Y 29 PH 4: 03
                                                                                                                                       d

                                                  SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE                                        OH'Ul'Y
                                        v.                                         (For Offenses Committed On or'After November 1, 1987)

                   ISRAEL DE LA LUZ-CASIANO (3)                                    Case Number: 13CROI68-IEG

                                                                                    FRANCISCO SANCHEZ
                                                                                   Defendant's Attorney
    REGISTRATION NO. 37099298

    o
    THE DEFENDANT:
     181pleaded guilty to count(s) TWO OF THE INFORMATION
     o     was found guilty on count(s) _ _ _ _ _ _~_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
    Title & Section                          Nature of Offense                                                                              Number(s)
8 USC 1326                            REMOVED ALIEN FOUND IN THE UNITED STATES (FELONY)                                                         2




        The defendant is sentenced asprovided in pages 2 through _ _.; ;.2_ _ of this judgment. The sentence is imposed pursuant
 o
 to the Sentencing Reform Act of 1984.
      The defendant has been found not guilty on count(s)

 O Count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is 0
                                                             --------------------------------------------------
                                                                               are 0 dismissed on the motion of the United States.
 [8] Assessment: $100.00 WAIVED


 [8] Fine waived                                    o    Forfeiture pursuant to order filed
                                                                                                -----------------
                                                                                                                               , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                              UNITED STATES DISTRICT JUDGE



                                                                                                                                                I3CROI68-IEG
    Case 3:13-cr-00168-GPC                       Document 74        Filed 05/29/13        PageID.185           Page 2 of 2


AO 245B (CASD) (Rev. 111 2) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                            Judgment - Page _...;.2_ of       2
 DEFENDANT: ISRAEL DE LA LUZ-CASIANO (3)
 CASE NUMBER: 13CR0168-IEG
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         30 MONTHS



    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


     o The defendant is remanded to the custody of the United States MarshaL
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Oa.m.    Op.m.    on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
        o before - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
        o as notified by the United States Marshal.
        o as notified by the Probation or Pretrial Services Office.
                                                              RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL


                                                                    By _ _ _ _~~~~~~~~~~------
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                    13CR0168·IEG
